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UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF COLUMBIA

333 Constitution Avenue, NW
Washington, DC 20001-2866
Phone: 202-216-7000 | Facsimile: 202-219-8530

Plaintiff: Perkins Coie LLP

vs. Civil Action No.1:25-cv-716

Defendant:U.S. Department of Justice et al.

CIVIL NOTICE OF APPEAL

Notice is hereby given this 30 dayof_ June 2025 that

all Defendants

hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from the
judgment of this court entered on the _2_ day of May, 2025 in

favor of Plaintiff

against said Defendants

Attorney/Pro Se Party Signature: CELA Le.
A, 2
yy. ee

Name: Richard Lawson

Address: \y s DEPARTMENT OF JUSTICE

P.O. Box 878

Washington, DC 20044

Telephone: (202 ) 445-8042

(Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure a notice of appeal in a civil
action must be filed within 30 days after the date of entry of judgment or 60 days if the United

States or officer or agency is a party)

USCA Form 13
Rev. June 2017
